Case 3:17-cv-00072-NKM-JCH Document 1126 Filed 09/27/21 Pagelof2 Pageid#: 18335

Elizabeth Sines, et al

Vv

Jason Kessler, et al

IN THE UNITED STATES DISTRICT COURT FOR THE
CLERK'S OFFICE U.S. DIST. COURT

WESTERN DISTRICT OF YIRGINIA AT CHARLOTTESVILE, VA
Cha tesvi Divisi
harlottesville Division SEP 27 2021

JULIA C, BURLEY, CLE
BY;
Plaintiffs 1 Heb

Case No: 3:17-cv-072-NKM

Defendants

Praca asses

MOTION FOR LEAVE TO SUPPLEMENT DEFENDANT'S EXHIBIT LIST

AND DISCLOSURE OF THE TRANSCRIPT OF THE AUGUST 11, 2017, LEADERSHIP

MEETING

Comes Now the Defendant, Christopher Cantwell, and, he Moves this Court

for Léave to Supplement his Exhibit List with the attached transcript

of the August 11, 2017, “Leadership Meeting! and, also Discloses

this Transcript to all parties pursuant to Fed.R.Civ.P. 26, -In support,

Cantwell states as follows:

1)

2)

3).

The Second Amended Compliant in this matter alleges that, on August
11, 2017, Cantwell entered into the charged conspiracies by reaching
an agreement with Defendants Ray and Kline to commit acts of violence
at a meeting at MacIntire Park.

Cantwell has indicated in several of his previous filings that he
intends to introduce at trial a video of that meeting which he made
using a body camera, and, that this video will show that he reached

no such agreement with Ray, Kline, or, any other person.

In August of 2021, Cantwell for the first
time gained access from USP-Marion to the video. of the August 11,

2017 “leadership meet# rq, " Today, September 24, 2021, Cantwell

-[-
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has produced the attached transcript of the relevant portion: of the
body camera video. He avers that this transcript is true and correct,
and now discloses this transcript to atl other parties pursuant to

Fad.R.Civ.P. 26.

4) The transcript is an admissible summary document pursuant to Fed.R.
Evid. 1006. The Plaintiffs and ail other parties have a copy of the
original video recording, and, Cantwell anticiptes testifying from
personal knowledge at the trial as to the truth and correctness of

the underlying video.

Thus, Cantwell moves this Court for leave to supplement his exhibit list
with this transcript, which he anticipates will be used to examine and
cross-examine witneses and which he will move into evidence with the

video of the August 11, 2017, meeting.

Respectfully Submitted,

Uf

LVM,
Chrtstoprer Cantwel |
USP-Marion

PO Box 1000
Marion, IL 62959.

 

CERTIFICATE OF SERVICE

I hereby certify that this Motion for Leave to Supplement was mailed to
the Clerk of the Court, Ist Class Postage prepaid, for posting upon the
ECF system to which al other parties are subscribed, and, handed to
USP-Marion staff members Nathan Simpkins and/or. ‘Kathy Hill for electron-
ic transmission to the Court this 27th day of September, 2021.

C. Lp

Christopher Cantwell
